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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

   UNITED STATES OF AMERICA                        CRIMINAL ACTION NO. 10-00319-14

   VERSUS                                          JUDGE S. MAURICE HICKS, JR.

   TIMOTHY GENTRY                                  MAGISTRATE JUDGE HORNSBY

                                              ORDER

         Before the Court is a pro se Motion for Permission to Add to Motion for

   Compassionate Release filed by Defendant Timothy Gentry (“Gentry”). See Record

   Document 1002. First, the Court notes that Gentry’s Motion for Compassionate Release

   (Record Document 988) has been denied without prejudice. See Record Document 996.

   He may re-file his motion once he has achieved one of the two avenues for exhaustion

   under Section 3582(c)(1)(A). See id. Thus, there is no pending motion “to add to” and

   Gentry should simply re-file his motion.

         In the instant motion, Gentry once again raises issues regarding the Bureau of

   Prisons (“BOP”). As stated in an earlier order, Gentry must file a separate civil action if

   he is alleging a violation of constitutional rights to access the courts.     See Record

   Document 996 at 4, n. 1. Finally, this Court sees no basis to modify its prior ruling as to

   appointment of counsel. See id. at 1. Here, the Federal Public Defender’s Office notified

   the Court on July 9, 2020 that its office would not be enrolling on behalf of Gentry.

   Appointment of counsel is not required in this matter under the Criminal Justice Act. See

   U.S. v. Whitebird, 55 F.3d 1007 (5th Cir. 1995). This Court has again reviewed the record

   and declines to use its discretionary power to appoint counsel in this matter.

         Accordingly, for the foregoing reasons,
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           IT IS ORDERED that Gentry’s pro se Motion for Permission to Add to Motion for

   Compassionate Release (Record Document 1002) be and is hereby DENIED.

           THUS DONE AND SIGNED, in Shreveport, Louisiana, this 12th day of January,

   2021.




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